               Robert M
               Gibbens/CO/APHIS/USDA                 To (b)(6), (b)(7)c

               11/08/2006 03:13 PM                   cc (b)(6), (b)(7)c
                                                                                           (                      ,
                                                                                           b   (b)
                                                      bee
                                                                                           ) (6),
                                                                                           ( (b) (Cricket Hollow
                                                  Subject Fw: IA06043 - - Tom and Pamela Sellner
                                                          Zoo)                             6 (7)c
                                                                                           ),
   The investigative report documents a high number of alleged violations from 4 inspections
                                                                                           (       in 2005 and
   2006. While the violations are not grave in nature, it is clear that there is a chronic management
                                                                                           b              problem
   at the facility, and, for whatever reason, the Sellners either do not understand the regulations,
                                                                                           )           are not
   willing to comply, or are not able to comply. All of the violations except those listed (below have adequate
   supporting evidence (photos and/or admissions from Ms. Sellner) and can be used for sanction
   determination:                                                                          7
 •      2.131 (d)(2) - inspection of 6127106                                               )
 •      2.131(d)(3) - inspection of 6127106                                                c

•
 •      3.128 - inspection of 6127106
       3.132 - inspection of 6127106
                                                                                                            sl-f
•      3. 75(f) - inspection of 2122106
•      3. 132 - inspection of 2122106
•   3.10 - inspection of 12/21 /05
•   3.132 - inspection of 12/21/05.

The Sellners were cooperative during the investigation. They received a 7060 in December 2004. A
stipulation is recommended.

 Robert M. Gibbens, DVM
Director, Western Region
USDA, APHIS, Animal Care
2150 Centre Ave.
Bldg B, MS 3W11
Ft. Collins, CO 80526
970/494-7478




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                                                                                              EXHIBIT 2 PAGE 0001
